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Fu.&'n Bv'_,
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE DSAUGZ
WESTERN DIVISION
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ALMA BOYKINS, M} C.F; .. M.~.. r

Plaintiff,
v. No. 03-2351 Ma/P
SEARS & ROEBUCK, INC.,

Defendant.

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MEMORANDUM OPINION
FINDINGS OF FACT AND CONCLUSIONS OF LAW

 

From June 20, 2005, through June 22, 2005, this court
conducted a bench trial on Plaintiff Alma Boykins’s claims against
Defendant Sears Roebuck & Co. (“Sears”) under 42 U.S.C. § 2000e
(“Title VII”) and 42 U.S.C. § 1981. Plaintiff sought to prove that
she had been discharged in retaliation for complaining to Sears’s
discrimination hotline and for filing a complaint with the Equal
Employment Opportunity Commission (“EEOC”). Boykins also offered
evidence that sales commissions she had earned had been wrongfully
diverted to white employees. On July 18, 2005, each- party
submitted its proposed findings of fact and conclusions of law. On
July 29, each party submitted a response to the other's proposed
findings of fact and conclusions of law. As required by Rule 52 of
the Federal Rules of Civil Procedure, the court now sets forth its

findings of fact and conclusions of law.

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I. Background Facts

Plaintiff, an African-American woman, was employed as a sales
associate at the Sears store located at Raleigh Springs Mall in
Memphis, Tennessee, from October, 1993 to April, 2001. (JPTO IT 1-
2.)1 Plaintiff filed a charge of racial discrimination with the
EEOC on February 7, 2000, claiming that Sears had failed to promote
her to full-time employment status because of her race and that she
had been subjected to verbal racial harassment by her co-workers.
(Id. 11 3.) In october, 2000, and again in November, 2000,
Plaintiff also telephoned Sears’s internal “hotline” to complain
that Ken Parks, her sales manager, was taking commissions from her
by “selling on the floor”2 and that Bob Minor, Sears’s manager, was
not taking any corrective action. (Tr. 40-43.) On December l,
2000, the EEOC issued a dismissal and a right-to-sue letter to
Plaintiff. (JPTO 1 4.)

On May 16, 2000, Plaintiff had processed the purchase of a
“giant screen” television by taking the customer’s credit card
number over the telephone. This purchase eventually resulted in a
“charge back,” requiring Sears to reimburse credit charges later
proven to be fraudulent. (Tr. 504-09, 512; Ex. 17.) On December

8, 2000, Plaintiff was issued a policy violation notice (“write-

 

1 The court will cite the Joint Pre-trial Order as “JPTO.” Unless
otherwise noted, the facts stated in Section I are uncontested.

2 Because Parks was a salaried employee, any sale that he closed would
deprive a sales associate, such as Plaintiff, of the opportunity to receive a
commission.

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up”) for the sale on May 16, which had resulted in a charge back in
excess of $2,000. (Tr. 513-16; EX. 7.) On February 17, 2001,
Plaintiff received another write-up for failing to comply with
Sears’s policies governing the processing of credit transactions,
this time for failing to obtain a customer’s signature in
processing a sale. (Tr. 178-79; Ex. 15.) Although the prior write-
up had been characterized as a “final warning,” Plaintiff did not
suffer any loss of pay or benefits.

On April 13, 2001, Plaintiff was working in the Electronics
Department when she was approached by a woman who wanted to buy a
big screen television and other electronic equipment. (Tr. 180;
522.) The customer produced a credit card number written on a
piece of paper, explaining that she had just opened an account and
had not yet received her new credit card. (Tr. 181-82.) Plaintiff
checked the customer’s identification and telephoned Credit
Central,3 which she claims was standard practice. (Tr. 183-84.)
After receiving authorization from Credit Central, Plaintiff
processed. the purchase, and. the customer left the store with
merchandise worth approximately $2,110.85. (Tr. 185, 522.)

Later that day, the same customer returned to the Raleigh
Springs store and attempted to purchase an additional piece of
electronic equipment. The customer again offered a credit card

number on a piece of paper, and this number was different from the

 

3 Credit Central is centralized clearinghouse for credit purchases at
various Sears locations.

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one used previously. (Tr. 189-90; Ex. 28.) Plaintiff was not
suspicious and again proceeded to telephone Credit Central for
approval. After a delay, Plaintiff was notified that she would be
contacted by someone about the ongoing transaction. (Tr. 65-66.)
Thereafter, Wayne Strachner, Sears’s Loss Prevention Manager,
approached Plaintiff and the customer, while Plaintiff continued to
attempt to process the purchase. At some point, the customer left
the store, and the transaction was stopped before it could be
completed. (Tr. 68.)

Soon afterward, Strachner investigated the two transactions
that had occurred on April 13. On April 20, 2001, Plaintiff was
notified of her discharge from Sears. At that time, Sears
personnel informed Plaintiff that her employment was being
terminated for her failure to take proper precautions to protect
the store’s assets in processing credit transactions. (Tr. 63, 194-
97.) Plaintiff contends that the real reason for her discharge was
her prior conduct in complaining of the allegedly discriminatory
conditions at Sears.

As referenced in her internal hotline complaints, Plaintiff
testified that, on certain occasions throughout her employment at
Sears, she was forced to share sales commissions with white sales
employees. Plaintiff also offered evidence that, on at least one
occasion, a customer requested her assistance and was instead

directed by Sears's management personnel to a white sales

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associate. (Tr. 317-18; 325).
II. Diverted Commissions

To succeed on her claims that her sales commissions were
diverted to white employees in violation of § 1981, Plaintiff must
first show that 1) she is a member of a protected class, 2) she
suffered adverse employment action, 3) she was qualified for the
position, and 4) she was replaced by someone outside the protected
class or was treated differently from similarly situated members of
the unprotected class. Warfield v. Lebanon Correctional
Institution, 181 F.Bd 723, 728-29 (6th Cir. 1999)(Citing McDonnell
Douglas, 411 U.S. at 802.) If Plaintiff has established these
elements, she is entitled to an inference of discrimination which
shifts the burden of production to Sears to articulate a
legitimate, non-discriminatory reason for its contested action(s).
gee id; at 729 (citing McDonnell Douglas, 411 U.S. at 802). If
Sears has met its burden, Plaintiff bears the burden of
demonstrating, by a preponderance of the evidence, that Sears's
proffered reason is a pretext for discrimination. ld;; see also
Canitia v. Yellow Freight Svstems, 903 F.2d 1064, 1066 (Gth Cir.
1990)(citing Texas Dept. of Communitv Affairs v. Burdine, 450 U.S.
248, 256 (1981)). “The ultimate burden of persuading the trier of
fact that the defendant intentionally discriminated against the
plaintiff remains at all times with the plaintiff.” Reeves v.

Sanderson Plumbinc Products, Inc., 530 U.S. 133, 143 (2000)(quoting

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Texas Dept. of Communitv Affairs v. Burdine, 450 U.S. 248, 253
(1981).

In its order granting in part and denying in part Sears’s
motion for summary judgment, the court found that Plaintiff had

stated a prima facie case of race discrimination based on her

 

deposition testimony that, on an unspecified number of occasions,
sales commissions that she had rightfully earned were diverted to
white sales associates. (See Order, December 8, 2004, at 13-15.)
Plaintiff offered essentially the same testimony at trial: that Ken
Parks took commissions from her by “selling on the floor” and
falsely crediting sales to white associates Tom Land and Mike Cook.
(Tr. 28, 41.) In addition, Plaintiff offered 1) a document
memorializing a commission granted to Tom Land on a day when he was
not scheduled to work, and 2) the testimony of Sears employee Larry
Mosby that a customer who requested Plaintiff's assistance was
instead directed to a white sales associate. (Ex. 5-6; Tr. 39, 311*
24, 386.)

First, Sears offered uncontradicted evidence that Parks was a
salaried employee and did not receive commissions on sales that he
completed. A commission was “lost” only for those associates who
would have made the sales in question instead of Parks. Second,
Plaintiff testified that Parks sold on the floor at different
times, when various other associates were working. (Tr. 43.) She

did not state that Parks sold on the floor only when she or other

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African-American sales associates were working. Thus, the mere
fact that Parks was “selling on the floor” is not evidence of race
discrimination in the distribution of sales commissions.

In support of her claim that sales were diverted from her
specifically to white employees, Plaintiff offers a receipt and
work schedule for April 16, 2001. The receipt credits Land with a
sale, although the schedule does not show that he worked that day.4
In response, Minor and Parks testified that Sears had a commissions
policy that would allow a sales associate to receive partial credit
for a sale that occurred when he was not working, if he had worked
with the customer earlier to sell the item(s) in question. (Tr.
157, 465-67.) Sears offered testimony that this was the reason
Plaintiff might have been required to split her commissions with
other customers. Sears's evidence of the “split-ticket” commission
policy' constitutes a legitimate, non-discriminatory reason for
crediting to Land and Cook sales in which Plaintiff might have
participated. _ Plaintiff has not produced specific evidence
demonstrating that the policy was a pretext for discrimination or
that Land or Cook, on this or other occasions, received commissions
to which they were not entitled under Sears’s commission policy.

Larry Mosby, an associate in Sears's asset protection

 

‘ The document shows three separate designations for employees. By the
name of some employees is a scheduled bloc of time, such as “B:OO - 5:00.” By
the names of other Sears employees are the designations “Off” and “AVAB.”

Land is shown as “AVAB” on the day in question, and the parties did not
distinguish “AVAB” from “Off.”

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department, testified that, on one occasion, a customer who had
been helped by Plaintiff on an earlier date returned to Sears and
specifically requested Plaintiff's assistance. Rather than paging
Plaintiff on behalf of the customer, as was Sears's standard
practice, Sears personnel directed the customer to Lamar Culpepper,
a white sales associate. (Tr. 311, 324.) Neither Mosby' nor
Plaintiff, however, can recall whether this incident resulted in an
actual sale or commission. Without more specific evidence,
therefore, the court cannot conclude that the described conduct
constitutes an adverse employment action on the part of Sears.
Plaintiff is not required to remember the precise details of
every diverted sales commission she alleges to have occurred. Her
vague recollection of one or two isolated events, however, coupled
with the general statement that “it happened all the time,” is
insufficient to support her damages claims for diverted commissions
or to demonstrate that Sears’s proffered reason for requiring
Plaintiff to share commissions with white employees was pretextual.
Given the evidence adduced at trial, the more likely explanation
for the incidents described by Plaintiff is the application,
mistaken or otherwise, of Sears’s “split-ticket” policy, not

intentional race discrimination.

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III. Retaliation

As with other Title VII claims, retaliation suits are analyzed
under the MQ___._MME framework.5 M_…nwLSlm/_Of
Cincinnatti, 215 F.3d 561, 578-79 (6th Cir. 2000). To establish a
prima facie case of retaliation, a plaintiff must show that 1) she
engaged. in protected activity, 2) the defendant knew of the
activity, 3) thereafter, the defendant took an employment action
adverse to the plaintiff, and 4) there was a causal connection
between the protected activity and the employment action. Ford v.
General Motors CorD., 305 F.3d 545, 552-53 (6th Cir. 2002)(citing
Morris v. Oldham Co. Fiscal Court, 201 F.3d 784, 792 (6th Cir.
2000). Once a plaintiff meets her burden of establishing a prima
facie case of retaliation, the burden shifts to the defendant to
offer a legitimate, non-discriminatory reason for taking the
adverse employment action. Johnson, 215 F.3d at 578-759. Plaintiff
must then demonstrate, by a preponderance of the evidence, that the
proffered reason was not the true reason for the employment action-
i.e., that the reason was a mere pretext for discrimination. ld;

(citing Burdine, 450 U.S. at 253, 256). To demonstrate pretext,

 

5 Plaintiff contends that the testimony that Ken Parks said “I got her
now," referring to the discharge of Plaintiff. is direct evidence of
discrimination by Sears and takes the case out of the McDonnell Douglas
framework. (Tr. 313). Despite Parks's possible boasts to the contrary, Sears
established at trial that he did not have the authority to fire Plaintiff.
More importantly, to conclude that the statement is evidence of
discrimination, the court must make the additional inference that Parks wanted
to “get” Plaintiff because of her protected conduct, and not for some other
reason. See, e.q., Johnson v. The Kroqer Co., 319 F.3d 858, 865 (6th Cir.
2003).

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the plaintiff is required to show, by a preponderance of the
evidence, that the defendant’s proffered reason 1) has no basis in
fact, 2) did not actually motivate the adverse employment action,
or 3) was insufficient to motivate the adverse employment action.
gee Carter v. University of Toledo, 349 F.3d 269, 274 (6th Cir.
2003); see also Manzer v. Diamond Shamrock Chemicals Co., 29 F.3d
1078, 1084 (6th Cir. 1994).

In support of a causal link between her protected activity and
Sears's disciplinary activity, Plaintiff points to the closeness
in time between her calls to Sears’s complaint hotline and her
belated write-up in December, 2000 for a charge back on a
transaction that had occurred the previous May. The court cited
this evidence in denying Sears’s motion for summary judgment on
Plaintiff's retaliation claim. (See Order at 21.) At trial, Sears
presented testimony that it was not notified of the May charge back
until November 1, 2000, and that it then conducted an investigation
and attempted to contact the customer in question to investigate
the charge back. (Tr. 512-13.) Plaintiff did not Offer evidence to
the contrary, and the testimony suggests a legitimate reason for
the delay in disciplining Plaintiff for the May charge back. Thus,
Sears’s evidence of reasonable delay in verifying the May, 2000
charge back undermines Plaintiff’s claim that her cumulative
discipline, which 'ultimately' resulted. in. her discharge, was a

consequence of her internal complaints.

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As described above, Plaintiff’s discharge occurred after she
had received a number of disciplinary sanctions for failing to
follow Sears's credit policy. Plaintiff claims that the actions
for which she was disciplined and eventually fired were not
contrary to Sears's credit policy. She testifies that the standard
procedure in conducting credit transactions consisted. of four
steps: 1) verifying a customer’s identification, 2) calling Sears's
Credit Central office to verify the customer’s credit card number,
3) keying the credit card number into a sales computer, and 4)
receiving an approval code. (Tr. 62.) The evidence shows that
Plaintiff complied with this procedure on April 13, 2001.

Plaintiff also offers the testimony of two other Sears
employees about the procedure to be followed in processing credit
transactions. Debra Lewis, a sales counselor at Sears, testified
that the four steps described above were to be followed if a
customer presented a credit card number on a piece of paper. (Tr.
213-14.) Lewis also testified, however, that a credit card number
on a piece of paper would cause her to be concerned and that there
are extra procedures available if a sales associate suspects that
a customer is attempting to commit fraud. (Tr. 215-16.) Plaintiff
offers further testimony by Larry Mosby that he knew of no other
employees who had been terminated for accepting a credit card
written on a piece of paper. Mosby also testified, however, that

a sales associate should be suspicious of a customer who presented

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a credit card number on a piece of paper. He stated that he would
be concerned about a sales associate who had lost more than $2,000
in credit charge backs and that such an associate should be fired.
(Tr. 322.) Finally, Bob Minor testified that, during his tenure as
Sears’s manager, no sales associate processed a sale with a credit
card number and incurred a charge back anywhere near the magnitude
of those incurred by the Plaintiff. (Tr. 582.)

Although Plaintiff may' not have been in 'violation. of an
explicit written policy governing the processing of credit
transactions, the proof adduced at trial shows that Sears expected
its sales associates to exercise discretion to protect Sears's
inventory. The facts described above show that Plaintiff, on
different occasions, failed to take adequate precautions to prevent
credit fraud. The court concludes, therefore, that Plaintiff's
repeated failure to exercise discretion in protecting the store's
assets is the reason for her discharge and not her prior complaints
of discrimination. Thus, Plaintiff has failed. to prove by' a
preponderance of the evidence that Sears terminated her in

violation of Title VII and § 1981.

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IV. Conclusion

For the foregoing reasons, Plaintiff has failed to prove her
claims under Title VII and § 1981. This action is DISMISSED, and

the clerk is directed to enter judgment in favor of Sears.

So ORDERED this am day of August 2005.

My/Wz.__

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I`RIC'I` JUDGE

 

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